            Case 3:17-cv-00072-NKM-JCH Document 214 Filed 01/31/18 Page 1 of 2 Pageid#: 1121
        *                                                                     cœ ax.
                                                                                   s olv
                                                                                                           icstys ojsz cou.
    ?
    J
                                                                                                   ATCfiARtorriâvu vA
    y                                                                                               .       Fjkyp       #

                                       IN THE IJNITED STATESDlsTm c'rcotiR'r                            J/# 3 1 2gj3
                                               w ESTER N D lsTm c '
                                                                  r o F V IRG IN IA                ;L     .n Lsx cl
                                                                                                                  - snz
                                                                                                                    .
                                                                                                                    ''
                                                                                                                     ->
                                                                                                                            .



                ELIZA BETH SIN ES,etal.,                          CaseN o.3:17-cv-00072-N KM

                                 Plaintiffs,                      H on.N orm an K .M oon

                V.

                JASON KESSLER,etal.

                                 D efendants.


                                                  CERTIFICATE oF sEltvlèE
            .            Ihereby certify thaton January 26,2018,tnleand correctcopiesof:       '

                            1. FratenmlOrderofAlt-Knights'Notice ofM otion and M otion to Dismiss(Oral
                               ArgumentRequested)(ECF 202)               '
                            2. M em orandum of Points and Authorities in Supportof FraternalOrder of Alt-
                               Knights'M otiontoDismiss(ECF204)
                     '
                            3. Declaration ofKyleChapm an in SupportofFratem alOrderofAlt-Knights'M otion
                               toDismiss(ECR 203)
                         Havebeen forwarded by tirstclassU.S.m ailto counselofrecord:

                         Alan Levine
                         Cooley LLP
                         1114 Avenue ofthe Am ericqs,46th Floor
                         N ew Y ork,N Y 10036
                         CounselforPlaintp
                         Elm erW oodard
                         5661 U S H W Y 29                                                                  .
                         Blairs,V A 24527                                                          '
                         CounselforDe# ndantKessler,Cantwell,VanguardAmerica,Ray,Damigo,Kline,Identity
                         Evropa, Heinibach, Parrott, Traditionalist Worker 'Jrfy, Schoep, National Socialist
                         M ovem ent,N ationalistFront

                         D avid Leon Cam pbell
                         Duane,H auck,D avis& Gravatt,P.C .
                         100 W estFranklin Street,Suite 100                       '
                         Richm ond,V A 23220
                         CounselforDefendantFields

                                                                j           '


I
          *
              Case 3:17-cv-00072-NKM-JCH Document 214 Filed 01/31/18 Page 2 of 2 Pageid#: 1122
!
     à*                                 .
    .!                .




                          Bryan Jeffrey Jones
                          Bryan J.Jones,A ttorney at1aw
                          106 W .South Street,Suite211
                          Charlottesville,V A 22902
                          CounselforHill,Tubbs& LeagueoftheSouth
                          M ichaelEnoch Peinovich
                          PO B ox 1069
                          HopewellJunction,N Y 12533

                          ProSe                                                                  j
               '
                   D!ted:Januaryj6,2018                         X
                                                          In Pro Per                             .
                                                          Kyle Chapman
                                                          c/o FraternalOrderofAlt-lfnights   '
                                                          52 LycettCircle
                                                          Daly City,CA 94015
                                                          kyleschapman@yahoo.com
